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 7
                                UNITED STATES BANKRUPTCY COURT
 8
                                       DISTRICT OF NEVADA
 9
     In re:                                              CASE NO.:     BK-N-20-50471-BTB
10                                                       Chapter 11 Subchapter V
11   ALY EATERY, INC,
                                                         MOTION TO ASSUME LEASE OF
12                                                       NONRESIDENTIAL REAL
                         Debtors.                        PROPERTY: 5015 S. MCCARRAN
13                                                       BLVD, RENO, NV 89502
14
                                                         Hearing Date: See Notice of Hearing
15   ______________________________________/             Hearing Time:

16            Debtor and Debtor in Possession, ALY EATERY, INC. (“Debtor”), hereby moves this court
17   for an order approving the assumption of Debtor’s lease for 5105 S. MCCARRAN BLVD, RENO,
18   89502 (the “Business Premises”) from PACIFIC CASTLE MANAGEMENT and/or SUBWAY
19   REAL ESTATE, LLC (collectively the “Landlord”). This motion is made pursuant to Section
20   365(a) of the Bankruptcy Code and Rules 6006 and 9014 of the Federal Rules of Bankruptcy
21   Procedure, is supported by the Declaration of Alicia Youngberg and is based on the following points
22   and authorities
23                                     POINTS AND AUTHORITIES
24                                         I. Backgrounds Facts
25            1.       On May 5, 2020, Debtor filed a voluntary petition for relief under Chapter 11
26   Subchapter V of the United States Bankruptcy Code thereby commencing this Chapter 11 Case.
27            2.       Debtor is operating its business as a debtor-in-possession. The Debtor owns and
28   operates a Subway Sandwiches franchised restaurant at the Business Premises.
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 1             3.       Debtor leases the Business Premises from Landlord pursuant to the terms of a
 2   written lease agreement dated August 29, 1990, between Landlord’s predecessor in interest as
 3   lessor, and Subway Real Estate, LLC as lessee, a copy of which is attached to the Youngberg
 4   Declaration as Exhibit 1 (the “Lease”). Attached as Exhibit 2 to the Youngberg Declaration is the
 5   Seventh Amendment to the Lease, which extended the term of the Lease through January 31, 2022.
 6   Monthly rent plus monthly common area maintenance fees currently average approximately $3,550
 7   per month.
 8             4.       As of the date of this motion, Debtor is current on all financial obligations under
 9   the Lease. Debtor will continue to timely remit payments required under the Lease as they become
10   due.
11                                               II.     Legal Argument
12             5.       Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in
13   possession '”subject to the court's approval, may assume or reject any executory contract or
14   unexpired lease of the debtor.” 11 U.S.C. §365(a). “The purpose behind allowing the assumption
15   or rejection of executory contracts is to permit the trustee or debtor-in-possession to use valuable
16   property of the estate and to ‘renounce title to and abandon burdensome property’.” In re Orion
17   Pictures Corp., 4 F.3d 1095, 1098 (2d Cir. 1993) (quoting 2 Collier on Bankruptcy §365.01[1] (15th
18   Ed. 1993)). The standard applied to determine whether the rejection of an unexpired lease should
19   be authorized is the “business judgment” standard. LRB v. Bildisco & Bildisco, 465 U.S. 513, 523
20   (1984).
21             6.       Pursuant to 11 U.S.C. §365(d)(1)(A) “an unexpired lease of nonresidential real
22   property under which the debtor is the lessee shall be deemed rejected, and the trustee shall
23   immediately surrender that nonresidential real property to the lessor, if the trustee does not assume
24   or reject the unexpired lease by the earlier of—
25                  (i) the date that is 120 days after the date of the order for relief; or
26                  (ii) the date of the entry of an order confirming a plan.
27             7.       The Debtor, in its business judgment, has determined that the Lease is essential to
28   Debtor’s business operations and successful reorganization. Debtor’s income is produced from the




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 1   Business Premises and that property cannot be substituted or replaced. The Business Premises has
 2   been recently improved and remodeled to meet the requirements of the Subway parent corporation
 3   and requires no immediate repairs or maintenance. The assumption of the Business Premises Lease
 4   is in the best interests of the Debtor, its bankruptcy estate and its creditors
 5                                             III.         Conclusion
 6            8.      In light of the foregoing, the Debtors respectfully request the Court to approve the
 7    assumption of the Lease for the Business Premises under section 365(a) of the Bankruptcy Code.
 8            DATED this 5th day of May, 2020.
                                                       DARBY LAW PRACTICE, LTD.
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10                                                        /s/ Kevin A. Darby
                                                       ______________________________
11                                                     KEVIN A. DARBY, ESQ.
                                                       Attorneys for Aly Eatery, Inc.
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